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 2    Fresno, CA 93721-1806
      Telephone: (559) 498-0800
 3
 4    Peter N. Kapetan, #138068
 5    Attorneys for:   Plaintiff Kimberly Barsamian
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 7
 8
 9                                   UNITED STATES DISTRICT COURT
10                                  EASTERN DISTRICT OF CALIFORNIA
11
12    KIMBERLY BARSAMIAN,                                   Case No. 1:07-cv-00316 OWW/GSA_
13
14                     Plaintiff,                           ORDER ON HEARING RE:
                                                            MOTION FOR DISBURSEMENT OF
15                                                          FUNDS ON BEHALF OF
              v.                                            PLAINTIFF KIMBERLY
16
                                                            BARSAMIAN
17
      CITY OF KINGSBURG, MARTIN
18    SOLIS, individually and in his official
      capacity as a Police Officer for the City of
19    Kingsburg Police Department, and DOES
      1 through 100, inclusive.
20
21                     Defendants.
22
23            Plaintiff, Kimberly Barsamian’s attorney, Peter N. Kapetan’s Motion for Hearing re
      Disbursement of Funds on Behalf of Plaintiff, came on hearing before this Court on April 24,
24
      2009. Attorney Peter N. Kapetan, appearing for Plaintiff, Kimberly Barsamian; Attorney
25
      Alfred A. Gallegos, appearing for Defendant City of Kingsburg; and Attorney Karen L. Lynch,
26
      appearing for Defendant Martin Solis. Also present were, Plaintiff Kimberly Barsamian,
27
      Plaintiff’s mother, Carol Barsamian, and Plaintiff’s aunt, Cathy Mauer, who agrees to act as
28    trustee on behalf of Plaintiff, Kimberly Barsamian.
                                                       1
                              ORDER ON HEARING RE: MOTION FOR DISBURSEMENT OF FUNDS
                                   ON BEHALF OF PLAINTIFF KIMBERLY BARSAMIAN
     Case 1:07-cv-00316-OWW-GSA Document 199 Filed 05/12/09 Page 2 of 2


             After consideration of the papers on file and discussion with the parties in Court, the
 1
      Court has determined (1) that Plaintiff Kimberly Barsamian has a disability that substantially
 2
      impairs her ability to provide for her own care or custody, which constitutes a substantial
 3    handicap; (2) that Plaintiff Kimberly Barsamian has special needs that will not be met without
 4    the trust and (3) that the money paid to the trust as set forth below does not exceed the amount
 5    that appears reasonably necessary to meet the special needs of Kimberly Barsamian.
 6           The Court therefore orders the disbursement of the Two Hundred Ten Thousand

 7    Dollars in settlement proceeds as follows:

 8            SETTLEMENT AMOUNT:                                              $ 210,000.00
 9            Less Costs:                                                   $       50,614.44
10
              Less Attorney’s Fees:          (33 1/3%)                           $53,075.39
11
              NET RECOVERABLE AMOUNT TO CLIENT:                                 $106,310.17
12
13           The net recoverable amount of $106,310.17 is to be disbursed on behalf of Plaintiff
      Kimberly Barsamian as follows:
14
15            DISBURSEMENT OF NET RECOVERABLE
              AMOUNT TO PLAINTIFF:                                              $106,310.17
16
              Payable to Trustee Cathy Mauer for the purposes of                $ 25,000.00
17
              Repayment of loans to Plaintiff’s Grandmother, Dora
18            Carillo and for the purchase of a vehicle, if and when
              Plaintiff receives her driver’s license.
19
              Purchase of Structured Settlement which will provide              $ 81,310.17
20
              a $1,000.00 per month payment for the life of the
21            structured settlement.

22    DATED: 5/11/2009
23
24
25                                  /s/ OLIVER W. WANGER

26                                  HONORABLE JUDGE OLIVER W. WANGER

27                                  UNITED STATES DISTRICT COURT JUDGE

28
                                                     2
                            ORDER ON HEARING RE: MOTION FOR DISBURSEMENT OF FUNDS
                                 ON BEHALF OF PLAINTIFF KIMBERLY BARSAMIAN
